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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA

                   -v.-                             18 Cr. 454-12 (KPF)

EFRAIN REYES,                                             ORDER

                          Defendant.

KATHERINE POLK FAILLA, District Judge:

      On the record on January 20, 2021, the Court granted in part and

denied in part the motion to unseal certain documents in this case. (See

Minute Entry of January 20, 2021). The Court deferred ruling on whether to

order the unsealing of sensitive personal information about Mr. Reyes. (See

id.). After reviewing the parties’ submissions and conducting research into the

issue, the Court orders the unsealing of some personal information about Mr.

Reyes insofar as it is directly relevant to Mr. Reyes’s sentencing and plea

proceedings, but declines to order that all sensitive personal information at

issue be unsealed. Specifically, the Court orders that information about Mr.

Reyes’s COVID-19 diagnosis must be unsealed, and that information about his

drug use — insofar as it is directly relevant to arguments advanced at the plea

and sentencing — must also be unsealed.

      The Court incorporates by reference its January 20, 2021 discussion

with the parties on the record regarding the applicable legal standards.

Although there is a First Amendment “presumption of access” to judicial

documents, see Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110, 119 (2d

Cir. 2006), “[w]hat offends the First Amendment is the attempt to [exclude the
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public] without sufficient justification,” N.Y. Civil Liberties Union v. N.Y.C.

Transit Auth. (“NYCTA ”), 684 F.3d 286, 296 (2d Cir. 2012), not the simple act

of exclusion itself. Thus, the presumptive right of access prevails unless it is

overcome by “specific, on-the-record findings that sealing is necessary to

preserve higher values and only if the sealing order is narrowly tailored to

achieve that aim.” Lugosch, 435 F.3d at 124; see also Mirlis v. Greer, 952 F.3d

51, 58-59 (2d Cir. 2020).

      “[T]he privacy interests of innocent third parties as well as those of

defendants that may be harmed by disclosure ... should weigh heavily in a

court’s balancing equation in determining what portions of motion papers in

question should remain sealed or should be redacted.” Matter of New York

Times Co., 828 F.2d 110, 116 (2d Cir. 1987).

             In determining the weight to be accorded an assertion
             of a right of privacy, courts should first consider the
             degree to which the subject matter is traditionally
             considered private rather than public.        Financial
             records of a wholly owned business, family affairs,
             illnesses, embarrassing conduct with no public
             ramifications, and similar matters will weigh more
             heavily against access than conduct affecting a
             substantial portion of the public.

United States v. Amodeo, 71 F.3d 1044, 1051 (2d Cir. 1995) (“Amodeo II”); see

also Application of Newsday, Inc., 895 F.2d 74, 79 (2d Cir. 1990) (holding that

disclosure of “intimate relations” qualifies the common law right of access).

“The nature and degree of injury must also be weighed.” Amodeo II, 71 F.3d at

1051. Finally, in balancing the qualified right of public access against privacy

interests, the Court must consider “the sensitivity of the information and the


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subject,” “the reliability of the information,” and whether “there is a fair

opportunity for the subject to respond to any accusations contained therein.”

Id.

      After weighing these considerations, the Court finds that the public’s

limited interest in Mr. Reyes is outweighed by the privacy interests of Mr. Reyes

and Mr. Reyes’s family, except for with respect to two specific issues. First, the

Court orders that information relating to Mr. Reyes’s COVID-19 diagnosis be

unsealed. As a general matter, “information such as personal identifiers,

family medical information, or information about victims or witnesses might

warrant privacy protection, other personal information concerning the

defendant should be disclosed, particularly when it serves as the basis for

sentencing advocacy.” United States v. Strevell, No. 05 Cr. 477 (GLS), 2009 WL

577910, at *5 (N.D.N.Y. Mar. 4, 2009) (emphasis added). Here, Defendant put

certain aspects of his medical history directly at issue by arguing that the

Court should consider his COVID-19 diagnosis at sentencing. Accord United

States v. Pasqua, No. 16 Cr. 591 (NSR), 2020 WL 7338082, at *3 (S.D.N.Y.

Dec. 12, 2020) (unsealing medical information in sentencing submission where

“Defendant’s medical information was submitted in the form of sentencing

advocacy — e.g., aspects of his medical condition were identified as a basis for

certain sentencing conditions”). 1 Second, and for substantially the same



1     Furthermore, the Court notes that the public may have a significant interest in the
      health conditions that precipitated Mr. Reyes’s death (i.e., COVID-19). We are in the
      middle of a COVID-19 pandemic; Mr. Reyes was released because he was suffering from
      the virus; and he ultimately died from it.

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reasons, insofar the parties advanced arguments at sentencing or at the plea

regarding Mr. Reyes’s history of drug use, that information must also be

unsealed. Accord Pasqua, 2020 WL 7338082, at *3. Thus, the Court finds that

Mr. Reyes’s privacy interests in: (i) personal medical information related to his

COVID-19 diagnosis, and (ii) information about his history of drug use as

relevant to the plea and sentencing proceedings, are not sufficiently strong to

outweigh the presumption of access.

      However, the Court does not believe that the public’s interest in Mr.

Reyes outweighs the privacy interests that Mr. Reyes and his family have in

other aspects of Mr. Reyes’s medical history and history of drug use. This other

private information is not directly relevant to Mr. Reyes’s plea or sentencings,

and its disclosure “would not promote any of the values associated with public

scrutiny of the sentencing process.” United States v. Sattar, 471 F. Supp. 2d

380, 388 (S.D.N.Y. 2006); see also United States v. Roeder, No. 05 Cr. 6161L,

2009 WL 385448, at * 2 (W.D.N. Y Feb. 13, 2009) (sealing letters from the

defendant’s psychotherapist and psychiatrist). According to Movant, the

public’s interest in Mr. Reyes stems solely from the fact that he briefly shared a

cell with Mr. Epstein. While information about Mr. Reyes’s COVID-19

diagnosis was directly relevant to Mr. Reyes’s plea and sentencing, as was

limited information about his history of drug use, all other information about

any of Mr. Reyes’s other health conditions, including drug use, is not relevant

to these judicial proceedings.




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         While the Court does not doubt that the public has some interest in Mr.

Reyes based solely on the fact of his brief acquaintance with Mr. Epstein, any

such interest is overcome by the significant privacy interests in sensitive

personal information regarding Mr. Reyes’s health that is not otherwise related

to his sentencing or plea. This private information is completely unrelated to

both the values associated with public scrutiny of the criminal justice system,

and to Mr. Reyes’s minimal ties to Mr. Epstein. Accordingly, the Court will

issue redacted versions of the transcripts of Mr. Reyes’s plea and sentencing

and a redacted version of the defense sentencing submission under separate

cover.

         SO ORDERED.

Dated:         January 27, 2021
               New York, New York            __________________________________
                                                  KATHERINE POLK FAILLA
                                                 United States District Judge




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